94 F.3d 645
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NEWSPAPERS DRIVERS AND HANDLERS' LOCAL UNION NO. 372,Affiliated with the International Brotherhood ofTeamsters;  Plaintiff-Appellant,Alfred P. Derey, Plaintiff,v.DETROIT NEWSPAPER AGENCY, d/b/a Detroit News and DetroitFree Press, jointly and severally, Defendant-Appellee.
    No. 95-1818.
    United States Court of Appeals, Sixth Circuit.
    June 26, 1996.
    
      Before:  MERRITT, JONES and SUHRHEINRICH, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      It is ORDERED that the judgment of the district court be, and it hereby is, AFFIRMED for reasons as stated from the bench.
    
    